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 10
 11                    IN THE UNITED STATES DISTRICT COURT

 12                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 13
 14
       ROY PAYAN, PORTIA MASON, THE                  [Discovery Document: Referred to
 15                                                  Magistrate Judge Steve Kim]
       NATIONAL FEDERATION OF THE
 16    BLIND, INC., and THE NATIONAL
       FEDERATION OF THE BLIND OF                    Case No.: 2:17-cv-01697-SVW(SKx)
 17
       CALIFORNIA, INC.,
 18
                          Plaintiff,                 STIPULATED PROTECTIVE
 19
                                                     ORDER
 20    vs.
 21
       LOS ANGELES COMMUNITY
 22    COLLEGE DISTRICT,
 23
                           Defendant.
 24
 25
      1.     A.    PURPOSES AND LIMITATIONS
 26
             Discovery in this action is likely to involve production of confidential,
 27
      proprietary. or private information for which special protection from public
 28
      ________________________________________________________________________________
                                                     PAYAN, et al. v. LACCD, Case No.: 2:17-cv-01697
                                                               STIPULATED PROTECTIVE ORDER
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  1   disclosure and from use for any purpose other than prosecuting this litigation may
  2   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
  3   enter the following Stipulated Protective Order. The parties acknowledge that this
  4   Order does not confer blanket protections on all disclosures or responses to
  5   discovery and that the protection it affords from public disclosure and use extends
  6   only to the limited information or items that are entitled to confidential treatment
  7   under the applicable legal principles. [This section is listed below in Para. C.]
  8
            B.     GOOD CAUSE STATEMENT
  9
            This action may involve the incidental disclosure of confidential academic and
 10
      grading information about students at the Defendant’s colleges who are not parties to
 11
      this case. The disclosure would result from reviews of computer programs, not an
 12
 13
      examination of those grades. Those non-party students have a right to maintain their

 14
      privacy.

 15         This action also involves trade secrets, customer and pricing lists, and other
 16   valuable research, development, commercial, financial, technical, and/or proprietary
 17   information for which special protection from public disclosure and from use for any
 18   purpose other than prosecution of this action is warranted. Such confidential and
 19   proprietary materials and information consist of, among other things, confidential
 20   business or financial information, information regarding confidential business
 21   practices, or other confidential research, development, or commercial information
 22   (including information implicating privacy rights of third parties), information
 23   otherwise generally unavailable to the public, or which may be privileged or
 24   otherwise protected from disclosure under state or federal statutes, court rules, case
 25   decisions, or common law. It is anticipated that all such confidential business records
 26   would come from vendors of products to the Defendant. Accordingly, to expedite the
 27   flow of information, to facilitate the prompt resolution of disputes over
 28
      ________________________________________________________________________________
                                                     PAYAN, et al. v. LACCD, Case No.: 2:17-cv-01697
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  1   confidentiality of discovery materials, to adequately protect information the parties
  2   are entitled to keep confidential, to ensure that the parties are permitted reasonable
  3   necessary uses of such material in preparation for and in the conduct of trial, to
  4   address their handling at the end of the litigation, and to serve the ends of justice, a
  5   protective order for such information is justified in this matter. It is the intent of the
  6   parties that information will not be designated as confidential for tactical reasons and
  7   that nothing be so designated without a good faith belief that it has been maintained
  8   in a confidential, non-public manner, and there is good cause why it should not be
  9   part of the public record of this case.
 10
 11         C.     ACKNOWLEDGMENT OF PROCEDURE FOR FILING
 12
                   UNDER SEAL

 13
            The parties further acknowledge, as set forth in Section 12.3, below, that this

 14
      Stipulated Protective Order does not entitle them to file confidential information

 15
      under seal; Local Civil Rule 79-5 sets forth the procedures that must be followed and

 16   the standards that will be applied when a party seeks permission from the court to file

 17   material under seal.

 18         There is a strong presumption that the public has a right of access to judicial
 19   proceedings and records in civil cases. In connection with non-dispositive motions,
 20   good cause must be shown to support a filing under seal. See Kamakana v. City and
 21   County of Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006); Phillips v. Gen. Motors
 22   Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002); Makar-Welbon v. Sony Electrics,
 23   Inc., 187 F.R.D. 576, 577 (E.D. Wis. 1999) (even stipulated protective orders require
 24   good cause showing). A specific showing of good cause or compelling reasons with
 25   proper evidentiary support and legal justification must be made with respect to
 26   Protected Material that a party seeks to file under seal. The parties’ mere designation
 27   of Disclosure or Discovery Material as CONFIDENTIAL does not—without the
 28
      ________________________________________________________________________________
                                                      PAYAN, et al. v. LACCD, Case No.: 2:17-cv-01697
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  1   submission of competent evidence by declaration, establishing that the material
  2   sought to be filed under seal qualifies as confidential, privileged, or otherwise
  3   protectable—constitute good cause.
  4
            Further, if a party requests sealing related to a dispositive motion or trial, then
  5
      compelling reasons, not only good cause, for the sealing must be shown, and the
  6
      relief sought shall be narrowly tailored to serve the specific interest to be protected.
  7
      See Pintos v. Pacific Creditors Ass’n., 605 F.3d 665, 677-79 (9th Cir. 2010). For
  8
      each item or type of information, document, or thing sought to be filed or introduced
  9
      under seal in connection with a dispositive motion or trial, the party seeking
 10
      protection must articulate compelling reasons, supported by specific facts and legal
 11
      justification, for the requested sealing order. Again, competent evidence supporting
 12
      the application to file documents under seal must be provided by declaration.
 13
 14         Any document that is not confidential, privileged, or otherwise protectable in

 15   its entirety will not be filed under seal if the confidential portions can be redacted. If

 16   documents can be redacted, then a redacted version for public viewing, omitting only
 17   the confidential, privileged, or otherwise protectable portions of the document, shall
 18   be filed. Any application that seeks to file documents under seal in their entirety
 19   should include an explanation of why redaction is not feasible.
 20
 21   This information is listed above at B.2.       DEFINITIONS
 22         2.1 Action: Payan, et al. v. Los Angeles Community College District, Case No.
 23   2:17-cv-01697-SVW(SKx).
 24
            2.2    Challenging Party: a Party or Non-Party that challenges the designation
 25
      of information or items under this Order.
 26
 27         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
 28   how it is generated, stored, or maintained) or tangible things that qualify for
      ________________________________________________________________________________
                                                     PAYAN, et al. v. LACCD, Case No.: 2:17-cv-01697
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  1   protection under Federal Rule of Civil Procedure 26(c), and as specified above in the
  2   Good Cause Statement.
  3
             2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
  4
      their support staff).
  5
  6
             2.5    Designating Party: a Party or Non-Party that designates information or

  7
      items that it produces in disclosures or in responses to discovery as

  8
      “CONFIDENTIAL.”

  9          2.6    Disclosure or Discovery Material: all items or information, regardless of
 10   the medium or manner in which it is generated, stored, or maintained (including,
 11   among other things, testimony, transcripts, and tangible things), that are produced or
 12   generated in disclosures or responses to discovery in this matter.
 13
             2.7    Expert: a person with specialized knowledge or experience in a matter
 14
      pertinent to the litigation who has been retained by a Party or its counsel to serve as
 15
      an expert witness or as a consultant in this Action.
 16
 17          2.8    House Counsel: attorneys who are employees of a party to this Action.
 18   House Counsel does not include Outside Counsel of Record or any other outside
 19   counsel.
 20          2.9    Non-Party: any natural person, partnership, corporation, association, or
 21   other legal entity not named as a Party to this action.
 22
             2.10 Outside Counsel of Record: attorneys who are not employees of a party
 23
      to this Action but are retained to represent or advise a party to this Action and have
 24
      appeared in this Action on behalf of that party or are affiliated with a law firm that
 25
      has appeared on behalf of that party, and includes support staff.
 26
 27

 28
      ________________________________________________________________________________
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  1         2.11 Party: any party to this Action, including all of its officers, directors,
  2   employees, consultants, retained experts, and Outside Counsel of Record (and their
  3   support staffs).
  4
            2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  5
      Discovery Material in this Action.
  6
  7
            2.13 Professional Vendors: persons or entities that provide litigation support

  8
      services (e.g., photocopying, videotaping, translating, preparing exhibits or

  9   demonstrations, and organizing, storing, or retrieving data in any form or medium)

 10   and their employees and subcontractors.

 11         2.14 Protected Material: any Disclosure or Discovery Material that is
 12   designated as “CONFIDENTIAL.”
 13
            2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
 14
      from a Producing Party
 15
 16
      3.    SCOPE
            The protections conferred by this Stipulation and Order cover not only
 17
      Protected Material (as defined above), but also (1) any information copied or
 18
      extracted from Protected Material; (2) all copies, excerpts, summaries, or
 19
      compilations of Protected Material; and (3) any testimony, conversations, or
 20
 21
      presentations by Parties or their Counsel that might reveal Protected Material.

 22         Any use of Protected Material at trial shall be governed by the orders of the
 23   trial judge. This Order does not govern the use of Protected Material at trial.
 24
      4.    DURATION
 25
      Once a case proceeds to trial, information that was designated as CONFIDENCIAL
 26
      or maintained pursuant to this protective order used or introduced as an exhibit at trial
 27
      becomes public and will be presumptively available to all members of the public,
 28
      ________________________________________________________________________________
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  1   including the press, unless compelling reasons supported by specific factual findings
  2   to proceed otherwise are made to the trial judge in advance of the trial. See
  3   Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1180-81 (9th Cir. 2006)
  4   (distinguishing “good cause” showing for sealing documents produced in discovery
  5   from “compelling reasons” standard when merits-related documents are part of court
  6   record). Accordingly, the terms of this protective order do not extend beyond the
  7   commencement of the trial.
  8
  9   5.    DESIGNATING PROTECTED MATERIAL
 10
            5.1     Exercise of Restraint and Care in Designating Material for Protection.
 11
      Each Party or Non-Party that designates information or items for protection under this
 12
      Order must take care to limit any such designation to specific material that qualifies
 13
      under the appropriate standards. The Designating Party must designate for protection
 14
      only those parts of material, documents, items, or oral or written communications that
 15
      qualify so that other portions of the material, documents, items, or communications
 16
      for which protection is not warranted are not swept unjustifiably within the ambit of
 17
      this Order.
 18
 19         Mass, indiscriminate, or routinized designations are prohibited. Designations

 20   that are shown to be clearly unjustified or that have been made for an improper

 21   purpose (e.g., to unnecessarily encumber the case development process or to impose

 22   unnecessary expenses and burdens on other parties) may expose the Designating

 23   Party to sanctions.
 24         If it comes to a Designating Party’s attention that information or items that it
 25   designated for protection do not qualify for protection, that Designating Party must
 26   promptly notify all other Parties that it is withdrawing the inapplicable designation.
 27

 28
      ________________________________________________________________________________
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  1         5.2    Manner and Timing of Designations. Except as otherwise provided in
  2   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  3   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  4   under this Order must be clearly so designated before the material is disclosed or
  5   produced.
  6
            Designation in conformity with this Order requires:
  7
                   (a) for information in documentary form (e.g., paper or electronic
  8
      documents, but excluding transcripts of depositions or other pretrial or trial
  9
      proceedings), that the Producing Party affix at a minimum, the legend
 10
      “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
 11
      contains protected material. If only a portion of the material on a page qualifies for
 12
 13
      protection, the Producing Party also must clearly identify the protected portion(s)

 14
      (e.g., by making appropriate markings in the margins).

 15         A Party or Non-Party that makes original documents available for inspection
 16   need not designate them for protection until after the inspecting Party has indicated
 17   which documents it would like copied and produced. During the inspection and
 18   before the designation, all of the material made available for inspection shall be
 19   deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
 20   it wants copied and produced, the Producing Party must determine which documents,
 21   or portions thereof, qualify for protection under this Order. Then, before producing
 22   the specified documents, the Producing Party must affix the “CONFIDENTIAL
 23   legend” to each page that contains Protected Material. If only a portion of the
 24   material on a page qualifies for protection, the Producing Party also must clearly
 25   identify the protected portion(s) (e.g., by making appropriate markings in the
 26   margins).
 27

 28
      ________________________________________________________________________________
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  1                 (b) for testimony given in depositions that the Designating Party
  2   identifies the Disclosure or Discovery Material on the record, before the close of the
  3   deposition all protected testimony.
  4
                    (c) for information produced in some form other than documentary and
  5
      for any other tangible items, that the Producing Party affix in a prominent place on
  6
      the exterior of the container or containers in which the information is stored the
  7
      legend “CONFIDENTIAL.” If only a portion or portions of the information warrants
  8
      protection, the Producing Party, to the extent practicable, shall identify the protected
  9
      portion(s).
 10
 11         5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent

 12   failure to designate qualified information or items does not, standing alone, waive the

 13   Designating Party’s right to secure protection under this Order for such material.

 14   Upon timely correction of a designation, the Receiving Party must make reasonable

 15   efforts to assure that the material is treated in accordance with the provisions of this

 16   Order.
 17
      6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
 18
            6.1     Timing of Challenges. Any Party or Non-Party may challenge a
 19
      designation of confidentiality at any time that is consistent with the Court’s
 20
      Scheduling Order.
 21
 22         6.2     Meet and Confer. The Challenging Party shall initiate the dispute

 23   resolution process under Local Rule 37-1 et seq.

 24         6.3     Joint Stipulation. Any challenge submitted to the Court shall be via a
 25   joint stipulation pursuant to Local Rule 37-2.
 26
            6.4     The burden of persuasion in any such challenge proceeding shall be on
 27
      the Designating Party. Frivolous challenges, and those made for an improper purpose
 28
      ________________________________________________________________________________
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  1    (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
  2    expose the Challenging Party to sanctions. Unless the Designating Party has waived
  3    or withdrawn the confidentiality designation, all parties shall continue to afford the
  4    material in question the level of protection to which it is entitled under the Producing
  5    Party’s designation until the Court rules on the challenge.
  6
             (6.3)
  7
  8    7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  9          7.1     Basic Principles. A Receiving Party may use Protected Material that is
  10   disclosed or produced by another Party or by a Non-Party in connection with this
  11   Action only for prosecuting, defending, or attempting to settle this Action. Such
  12   Protected Material may be disclosed only to the categories of persons and under the
  13   conditions described in this Order. When the Action has been terminated, a
  14   Receiving Party must comply with the provisions of section 13 below (FINAL
  15   DISPOSITION).
  16
             Protected Material must be stored and maintained by a Receiving Party at a
  17
       location and in a secure manner that ensures that access is limited to the persons
  18
       authorized under this Order.
  19
  20         7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless

  21   otherwise ordered by the court or permitted in writing by the Designating Party, a

  22   Receiving Party may disclose any information or item designated

  23   “CONFIDENTIAL” only to:

  24         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
  25   employees of said Outside Counsel of Record to whom it is reasonably necessary to
  26   disclose the information for this Action;
  27

  28
       ________________________________________________________________________________
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  1          (b) the officers, directors, and employees (including House Counsel) of the
  2    Receiving Party to whom disclosure is reasonably necessary for this Action;
  3
             (c) Experts (as defined in this Order) of the Receiving Party to whom
  4
       disclosure is reasonably necessary for this Action and who have signed the
  5
       “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  6
  7
             (d) the court and its personnel;

  8          (e) court reporters and their staff;
  9
             (f) professional jury or trial consultants, mock jurors, and Professional
  10
       Vendors to whom disclosure is reasonably necessary for this Action and who have
  11
       signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  12
  13         (g) the author or recipient of a document containing the information or a

  14   custodian or other person who otherwise possessed or knew the information;

  15         (h) during their depositions, witnesses, and attorneys for witnesses, in the
  16   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
  17   requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will
  18   not be permitted to keep any confidential information unless they sign the
  19   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
  20   agreed by the Designating Party or ordered by the court. Pages of transcribed
  21   deposition testimony or exhibits to depositions that reveal Protected Material may be
  22   separately bound by the court reporter and may not be disclosed to anyone except as
  23   permitted under this Stipulated Protective Order; and
  24
             (i)    any mediator or settlement officer, and their supporting personnel,
  25
       mutually agreed upon by any of the parties engaged in settlement discussions.
  26
  27

  28
       ________________________________________________________________________________
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  1    8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED
             PRODUCED IN OTHER LITIGATION
  2
             If a Party is served with a subpoena or a court order issued in other litigation
  3
       that compels disclosure of any information or items designated in this Action as
  4
  5
       “CONFIDENTIAL,” that Party must:

  6                 (a) promptly notify in writing the Designating Party. Such notification
  7    shall include a copy of the subpoena or court order;
  8
                    (b) promptly notify in writing the party who caused the subpoena or
  9
       order to issue in the other litigation that some or all of the material covered by the
  10
       subpoena or order is subject to this Protective Order. Such notification shall include
  11
       a copy of this Stipulated Protective Order; and
  12
  13                (c) cooperate with respect to all reasonable procedures sought to be

  14   pursued by the Designating Party whose Protected Material may be affected.

  15         If the Designating Party timely seeks a protective order, the Party served with
  16   the subpoena or court order shall not produce any information designated in this
  17   action as “CONFIDENTIAL” before a determination by the court from which the
  18   subpoena or order issued, unless the Party has obtained the Designating Party’s
  19   permission. The Designating Party shall bear the burden and expense of seeking
  20   protection in that court of its confidential material, and nothing in these provisions
  21   should be construed as authorizing or encouraging a Receiving Party in this Action to
  22   disobey a lawful directive from another court.
  23
       9.    A      NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  24                PRODUCED IN THIS LITIGATION
  25                (a) The terms of this Order are applicable to information produced by a
  26   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
  27   produced by Non-Parties in connection with this litigation is protected by the
  28
       ________________________________________________________________________________
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  1    remedies and relief provided by this Order. Nothing in these provisions should be
  2    construed as prohibiting a Non-Party from seeking additional protections.
  3
                    (b) In the event that a Party is required, by a valid discovery request, to
  4
       produce a Non-Party’s confidential information in its possession, and the Party is
  5
       subject to an agreement with the Non-Party not to produce the Non-Party’s
  6
       confidential information, then the Party shall:
  7
  8
                           (1) promptly notify in writing the Requesting Party and the Non-

  9    Party that some or all of the information requested is subject to a confidentiality

  10   agreement with a Non-Party;

  11                       (2)   promptly provide the Non-Party with a copy of the
  12   Stipulated Protective Order in this Action, the relevant discovery request(s), and a
  13   reasonably specific description of the information requested; and
  14
                           (3)   make the information requested available for inspection by
  15
       the Non-Party, if requested.
  16
  17                (c) If the Non-Party fails to seek a protective order from this court
  18   within 14 days of receiving the notice and accompanying information, the Receiving
  19   Party may produce the Non-Party’s confidential information responsive to the
  20   discovery request. If the Non-Party timely seeks a protective order, the Receiving
  21   Party shall not produce any information in its possession or control that is subject to
  22   the confidentiality agreement with the Non-Party before a determination by the court.
  23   Absent a court order to the contrary, the Non-Party shall bear the burden and expense
  24   of seeking protection in this court of its Protected Material.
  25
       10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  26
             If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  27
       Protected Material to any person or in any circumstance not authorized under this
  28
       ________________________________________________________________________________
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  1    Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  2    writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
  3    to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
  4    persons to whom unauthorized disclosures were made of all the terms of this Order,
  5    and (d) request such person or persons to execute the “Acknowledgment and
  6    Agreement to Be Bound” that is attached hereto as Exhibit A.
  7
       11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  8          PROTECTED MATERIAL
  9          When a Producing Party gives notice to Receiving Parties that certain
  10   inadvertently produced material is subject to a claim of privilege or other protection,
  11   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  12   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
  13   may be established in an e-discovery order that provides for production without prior
  14   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
  15   parties reach an agreement on the effect of disclosure of a communication or
  16   information covered by the attorney-client privilege or work product protection, the
  17   parties may incorporate their agreement in the stipulated protective order submitted to
  18   the court.
  19
       12.   MISCELLANEOUS
  20
  21
             12.1 Right to Further Relief. Nothing in this Order abridges the right of any

  22
       person to seek its modification by the Court in the future.

  23         12.2 Right to Assert Other Objections. By stipulating to the entry of this
  24   Protective Order, no Party waives any right it otherwise would have to object to
  25   disclosing or producing any information or item on any ground not addressed in this
  26   Stipulated Protective Order. Similarly, no Party waives any right to object on any
  27   ground to use in evidence of any of the material covered by this Protective Order.
  28
       ________________________________________________________________________________
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  1          12.3 Filing Protected Material. A Party that seeks to file under seal any
  2    Protected Material must comply with Local Civil Rule 79-5. Protected Material may
  3    only be filed under seal pursuant to a court order authorizing the sealing of the
  4    specific Protected Material at issue. If a Party’s request to file Protected Material
  5    under seal is denied by the court, then the Receiving Party may file the information in
  6    the public record unless otherwise instructed by the court.
  7
       13.   FINAL DISPOSITION
  8
             After the final disposition of this Action, as defined in paragraph 4, within 60
  9
       days of a written request by the Designating Party, each Receiving Party must return
  10
       all Protected Material to the Producing Party or destroy such material. As used in this
  11
       subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  12
  13
       summaries, and any other format reproducing or capturing any of the Protected

  14
       Material. Whether the Protected Material is returned or destroyed, the Receiving

  15
       Party must submit a written certification to the Producing Party (and, if not the same

  16
       person or entity, to the Designating Party) by the 60-day deadline that (1) identifies

  17   (by category, where appropriate) all the Protected Material that was returned or

  18   destroyed and (2) affirms that the Receiving Party has not retained any copies,

  19   abstracts, compilations, summaries, or any other format reproducing or capturing any

  20   of the Protected Material. Notwithstanding this provision, Counsel are entitled to

  21   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing

  22   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert

  23   reports, attorney work product, and consultant and expert work product, even if such
  24   materials contain Protected Material. Any such archival copies that contain or
  25   constitute Protected Material remain subject to this Protective Order as set forth in
  26   Section 4 (DURATION).
  27

  28
       ________________________________________________________________________________
                                                     PAYAN, et al. v. LACCD, Case No.: 2:17-cv-01697
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  1    14.   VIOLATION
  2
       Any violation of this Order may be punished by appropriate measures including,
  3
       without limitation, contempt proceedings and/or monetary sanctions.
  4
  5
       IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  6
  7    Dated: September 15, 2017            BARBOSA GROUP
  8
  9                                         Patricia Barbosa
  10
  11                                        BROWN GOLDSTEIN & LEVY, LLP

  12
  13
                                            Daniel F. Goldstein
  14                                        Sharon Krevor-Weisbaum
                                            Joseph B. Espo
  15                                        Jean M. Zachariasiewicz
  16
                                            Attorneys for Plaintiffs
  17
  18   Dated: September 15, 2017            HAIGHT BROWN & BONESTEEL LLP
  19
  20                                        /S/ Darth Vaughn___________________
  21
                                            Darth Vaughn
                                            Attorney for Defendant
  22
  23
       FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  24
  25
       DATED: September 20, 2017
  26
  27
                                      Honorable Steve Kim
                                      United States Magistrate Judge
  28
       ________________________________________________________________________________
                                                  PAYAN, et al. v. LACCD, Case No.: 2:17-cv-01697
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  1                                           EXHIBIT A
  2                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3
       I,                                 [print or type full name], of
  4
                                   [print or type full address], declare under penalty of perjury
  5
       that I have read in its entirety and understand the Stipulated Protective Order that was
  6
       issued by the United States District Court for the Central District of California on
  7
       [date] in the case of I agree to comply with and to be bound by all the terms of this
  8
       Stipulated Protective Order and I understand and acknowledge that failure to so
  9
       comply could expose me to sanctions and punishment in the nature of contempt. I
  10
       solemnly promise that I will not disclose in any manner any information or item that
  11
       is subject to this Stipulated Protective Order to any person or entity except in strict
  12
       compliance with the provisions of this Order. I further agree to submit to the
  13
       jurisdiction of the United States District Court for the Central District of California
  14
       for enforcing the terms of this Stipulated Protective Order, even if such enforcement
  15
       proceedings occur after termination of this action. I hereby appoint
  16
               [print or type full name] of                            [print or type full address
  17
       and telephone number] as my California agent for service of process in connection
  18
       with this action or any proceedings related to enforcement of this Stipulated
  19
       Protective Order.
  20
       Date:
  21
       City and State where sworn and signed:
  22
  23
       Printed name:
  24
  25
       Signature:
  26
  27

  28
       ________________________________________________________________________________
                                                      PAYAN, et al. v. LACCD, Case No.: 2:17-cv-01697
                                                                STIPULATED PROTECTIVE ORDER
                                                     17
